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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS



 KIRA WAHLSTROM,

            Plaintiff

 V.

 DAYID J. HOEY, LAW OFFICES OF                                      1:22-cv-10792-RGS
 DAVID J. HOEY, P.C., DON C. KEENAN,
 AND D.C. KEENAN & ASSOCIATES, P.C.
 D/B/A THE KEENAN LAW FIRM, P.C.

            Defendant



      AFFIDAVIT OF JOHN P. LIBERTY AND DEFENDANTS DAYID J. HOEY AND
             THE LAW OFFICES OF DAYID J. HOEY, P.C.'S APPENDIX


           I, John P. Liberty, hereby depose under oath and swear under oath as follows:
           1.       I am an attorney in good standing admitted to the Bar of the Commonwealth of

Massachusetts. I am co-counsel to the Defendants, David J. Hoey and Law Offices of David J.

Hoey, P.C.

           2.       Attached are true and accurate copies of the following exhibits:


  Exhibit                                             Document
    A.            Plaintiffs First Amended Complaint
    B.            2010 Contingent Fee Agreement (Wahlstrom Ex. 02- LDH 0000010-0000012)
    C.            Plaintiff Kira Wahlstrom' s Response to the First Set of Interrogatories by
                  Defendant D.C. Keenan & Associates, P.C. d/b/a The Keenan Law Firm
      D.          Excerpts of Audiovisual Deposition of Kira Wahlstrom
      E.          2010 Referral Fee Agreement
      F.          Don C. Keenan's Response to Plaintiffs Questions in Lieu of Appearing for a
                  Deposition Per Agreement of Parties
      G.          Excerpts of Deposition of David J. Hoey
      H.          September 10, 2014 Email/Letter (Wahlstrom Ex. 4-LDH 0091991-0091992)
      I.          June 11, 2015 Email Chain
      J.          2015 Contingent Fee Agreement (Wahlstrom Ex. 3-LDH 0049913-0049918)
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K.       LAZ's Motion in Limine re Animation (LDH 0006560-0006562)
L.       Partial Transcript of July 21, 2015 Hearing on LAZ' s Motion in Limine re
         Animation (LDH 0010174; LDH 0010188-LDH 0010202; LDH 0010265)
M.       Certain Defendants' Motion and Memo for New Trial (LDH 0014137-0014163)
N.       Wahlstrom v. JPA IV Management - 1084CV01022 - Docket
0.       Excerpts of Deposition of Patricia DeJuneas
P.       Wahlstrom y._JPA IV Management Company Inc,, 95 Mass. App. Ct. 445
Q.       Wahlstrom v. Rivera, et al - 2016-J-0267 - Docket
R.       Legal Services Agreement between Plaintiff and DeJuneas (LDH 0033988-
         0033989)
S.       February 28, 2017 Letter to Sobczak (Wahlstrom Ex. 14, in part)
T.       June 26, 2017 Engagement Letter (LDH 0024008-0024014)
U.       June 7, 2018 Email (LDH 0020257-0020258)
V.       Executed Fee Breakdown (Wahlstrom Ex. 9)
W.       No Exhibit
X.       Cordy's Note (LDH 0054003)
Y.       Emails between Hoey and DeJuneas (LDH 0024160; 0022547; 0022022; 0021966;
         0021911; 0021903; 0021846; and 0021761)
 Z.      Wahlstrom v. Rivera, et al.- 2017-P-1524- Docket
AA.      July 25, 2016 Email Chain (Wahlstrom Ex. 11--LDH 0071282-0071291)
BB.      Sobczak v. Law Offices of David J. Hoey, P.C., et al., -- 1781CV01281 - Docket
cc.      FAR-26616 -Docket
DD.      Excerpts of Deposition of Amy Goganian
EE.      November 8, 2019 Order (LDH 0015378)
FF.      February 5, 2020 Order (LDH 0014967)
GG.      February 25, 2020 Email Chain (Wahlstrom Ex. 18-LDH 0042127)
HH.      Wahlstrom's Motion for Fees (Wahlstrom Ex. 16- LDH 0042077-0042115)
 II.     K.W. v. JPA IV Management Company, Inc., et al. -- 2021-P-0626 -- Docket
JJ.      General Release Agreement (Wahlstrom Ex. 28).
KK.      Wahlstrom v. JPA IV Management Company Inc. 2019 Mass. App. Unpub. LEXIS
         741
LL.      Wahlstrom v. Carlson Hotels Management Corp.. et al. -- FAR-26934 -- Docket
MM.      December 17, 2019 Email (Hoey Ex. 41-LDH 0042194)
NN.      March 29, 2020 Email (Wahlstrom Ex. 6-LDH 0042116-0042120)
00.      March 30, 2020 Email Chain (Wahlstrom Ex. 7, in part -- LDH 0042071-0042072)
PP.      Plaintiff's Response to the Hoey Defendants' Interrogatories
QQ.      May 15, 2020 Wire (LDH 0000540)
RR.      May 20, 2020 Letter to O'Toole (LDH 0000078)
SS.      O'Toole v. Hoey, et al. - 2184CV00741- Docket
TT.      Goganian Agreement (K003505-KW003507)
UU.      Picture of Files in Plaintiff's Vehicle (LDH 0042016)
VV.      Excerpts of Deposition of Erin Higgins




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Signed and sworn under the pains and penalties of perjury this 14" day of August, 2023.




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